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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Maplevale Farms, Inc., et al.
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08637
                                                       Honorable Thomas M. Durkin
Koch Foods, Inc., et al.
                                     Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 13, 2022:


        MINUTE entry before the Honorable Thomas M. Durkin: The Court adopts the
stipulated revised briefing schedule [5805]. Scheduling Order No. 18 [5685] is amended
such that: (1) Track 1 Summary Judgement Opening Briefs are due 10/7/2022; (2) Track 1
Merits Daubert Motions are due 10/7/2022; (3) Non−Georgia Dock Defendants' Reply in
Support of Their Motion for Partial Summary Judgment on All Track 1 Plaintiffs' Claims
Alleging a "Georgia Dock Conspiracy" is due 11/11/2022; (4) Defendants' Replies in
Support of Their Motions to Dismiss the Track 2 Plaintiffs' Second Amended
Consolidated Complaint are due 11/11/2022; (5) Track 1 Summary Judgment Responses
are due 1/27/2023; (6) Merits Expert Daubert Responses are due 1/27/2023; (7) Track 1
Summary Judgment Replies are due 3/17/2023; and (8) Merits Expert Daubert Replies are
due 3/17/2023. No further extensions will be granted to these briefing schedules absent
extraordinary circumstances. Any further requests for extensions should be filed as a
motion. Stipulations among the parties are not sufficient to extend briefing schedules. The
Court's consent is required and must be sought with a motion. Separately, the Court
acknowledges that a date certain has not been set for the trial and that the Court has yet to
determine the form of the trial. The Court will review the parties trial plans submitted last
year (and the anticipated additional filing from Plaintiffs, noted in the Stipulation) and
will issue a proposed trial plan for the parties' consideration as soon as possible. Mailed
notice(mjc, )




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